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 5                        UNITED STATES DISTRICT COURT

 6                       EASTERN DISTRICT OF CALIFORNIA

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 8   ALLIANCE FOR FAIR BOARD               No.   2:21-cv-01951-JAM-AC
     RECRUITMENT,
 9                                         AMENDED ORDER GRANTING
                    Plaintiff,             DEFENDANT’S REQUEST FOR JUDICIAL
10                                         NOTICE
           v.
11
     SHIRLEY N. WEBER, in her
12   official capacity as
     Secretary of State of the
13   State of California,
14                  Defendant.
15

16        The Court’s prior order granting summary judgement in favor

17   of Plaintiff erroneously referred to Defendant’s request for

18   judicial notice as Plaintiff’s. Order, ECF No. 125, at 3. The

19   Court hereby corrects the record and GRANTS Defendant’s request

20   for judicial notice of sixty-three documents pursuant to Federal

21   Rule of Evidence 201. See Req. for Judicial Notice (“RJN”), ECF

22   No. 115.

23        IT IS SO ORDERED.

24
     Dated: May 19, 2023             /s/ John A. Mendez
25
                                     THE HONORABLE JOHN A. MENDEZ
26                                   SENIOR UNITED STATES DISTRICT JUDGE

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